         Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 1 of 21



                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             WACO DIVISION
                                                                         JUN    1   16
                                                                    CLERK, U.   .   t   COURT
UNITED STATES OF AMERICA             )                              BY                  DEPUTY
                                     )              NO. W96CA2
V.                                   )

                                     )         Motion Under 28 U.S.C. § 2255
JON HAROLD ROYAL                     )
                                                             -9O-C          icy'
          BRIEF IN SUPPORT OF MOTION TO VACATE CONVICTION
                AND SENTENCE UNDER 28 U.S.C. § 2255

      Petitioner, JON HAROLD ROYAL, respectfully submits this Brief

in   support   of   his motion   to vacate         the   judgment    and   sentence

rendered herein in the above cause, upon the following grounds:
                                 GROUND ONE

                                         A.




               INEFFECTIVE COUNSEL IN VIOLATION OF THE
      SIXTH AMENDMENT TO THE CONSTITUTION OF THE UNITED STATES

      The evidence at an evidentiary               hearing will     establish the

following extra-judicial facts:

      The Government prosecutor, through JON ROYAL's attorney
      Chris Flood, offered ROYAL a plea bargain wherein, in
      return for his cooperation, the Government would
      recommend a sentence of 15 months confinement for a post-
      guidelines offense and not prosecute him on any other
      charges.  Said Government prosecutor stated at the time
      of said offer that such offer would be extended for only
      three days thereafter. ROYAL asked his said attorney to
      come to Waco to talk with him about the offer or get him
      permission to come to Houston to discuss it.       He told
      ROYAL he would get  him permission to  come to  Houston to
      see what evidence was against  him  and discuss  the offer
      but he never did so. ROYAL wanted to accept said offer
      and would have demanded to do so if his said attorney,
      Chris Flood, had not told him that he would not represent
      him if he agreed to cooperate with the Government. Since
      ROYAL did not think he had the money necessary to employ
      another attorney he failed to accept said offer within
      the three day period of its existence.     At the time of
      said plea offer, ROYAL still owed said attorney a large
      portion of the agreed fee and if said plea bargain had
      been accepted ROYAL would not have paid nor owed said
                                      1


                                              q1
           Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 2 of 21




       large remaining portion of the fee.     ROYAL's attorney
       never advised him that if convicted he might face a life
       sentence.   At all times prior to his sentence, he was
       told by and was caused to believe by said attorney that
       if he was convicted he would face a maximum 20 year
       sentence. Also if Petitioner had known that he faced a
       possible life sentence at the time he was told about said
       plea bargain he would have demanded to accept it and
       would have personally called the United States Attorney
       to accept it even had he been unable to contact his
       attorney.

After trial and conviction, a PSR was filed and acted upon by the

Court, designating the maximum punishment to be life imprisonment.

The Trial Court assessed sentence under the Guidelines at 30 years.

       The law is now settled in all circuits that failure of counsel

to recommend acceptance of a certain and obvious highly favorable

plea   offer    constitutes    ineffective      counsel     in   violation    of    a

Defendant's     right   to    competent     counsel.       Turner   v.    State    of

Tennessee, 664 F. Supp. 1113, 858 F.2d 1201(6), 940 F.2d 1000(6),

Beckham v.     Wainwright,     639   F.2d    262(5).       The   Turner   case     is

precisely in point here.        The District Court in said case held as

follows:

            "Weighed by even these highly deferential standards,
       Bailey's advice not to accept the two-year offer, or at
       the very least his failure to recommend acceptance, was
       well below an "objective standard of reasonableness."
       Strickland, supra, at 688, 104 S.Ct. at 2064.
            Binkley 'recommended strongly' acceptance of the
       offer at the time; he thought the decision to go to trial
       was 'ludicrous.' Transcript at 16-17. John Rodgers, who
       was assistant district attorney general was responsible
       for the earlier plea offers to Turner, testified that the
       final two-year offer 'obviously . .     was a great offer
                                                       .

       and should have been accepted.'       Transcript at 157.
       James Neal, a well-known criminal defense attorney who
       represented   Carroll   in   this   case,   told  Binkley
       contemporaneously that Turner would 'be crazy not to
       take' the two-year offer. Transcript at 7. On de novo
       review of this question, this Court agrees with Judge
       Kurtz's conclusion that Bailey's actions on the plea
              Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 3 of 21
                         I
        decision were outside the bounds of reasonableness
        established by professional norms."
        Turner v. State of Tennessee, 664 Fed. Supp. 1113.

In affirming the analysis and conclusion of the District Court, the

Court of Appeals in said case held:

        "We  agree with the district court's analysis and
        conclusion. Accord Johnson v. Duckworth, 793 F.2d 898,
        900-02 (7th Cir.)    (criminal defendant has right to
        effective assistance of counsel in deciding whether to
        accept or reject proposed plea agreement), cert. denied,
        749 U.s. 937, 107 S.Ct. 416, 93 L.Ed.2d 367 (1986);
        United States ex rel. Caruso v. Zelinsky, 689 F.2d 435,
        438 (3d Cir. 1982) ("the decision to reject a plea
        bargain offer and plead not guilty is also a vitally
        important decision and a critical stage at which the
        right to effective assistance of counsel attaches');
        Beckham v. Wainwright, 639 F.2d 262, 267 (5th Cir. 1981)
        (incompetent advice to withdraw a negotiated guilty plea
        and instead stand trial violates defendant's right to
        effective assistance of counsel).
        Turner v. State of Tennessee, 858 F.2d 1201.

In this case, the Defendant faced a possible life sentence and a

virtually certain 20-30 year            minj..mum   sentence if convicted, and all

of those who the Government's proof was tO show the Defendant to

have been engaged in a drug conspiracy with were known to be strong

government witnesses who would expressly testify to Defendant's

guilt.        Defendant had a recent prior felony conviction, for the

same offense, which was certain to be proved if he testified in the

case.    Notwithstanding these known facts, counsel for the Defendant

not     only    failed    to   advise     immediate     acceptance   but   actually

discouraged and counseled against acceptance of a plea offer of a
mere    15 months      confinement, from which 15 month sentence there

would be deducted several months credit for time served.                       Such

action by counsel was patently unreasonable and actually ludicrous.

        Why would any lawyer on earth fail to advise his client to
                                             3
           Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 4 of 21
                        I
instantly accept such a plea offer under the circumstances here.

The Defendant was not a lawyer,              Judge,    doctor,    minister or the

holder of a high political office who might lose the license of his

profession or his means of livelihood.                He had recently served a

prior Federal sentence for the same offense, so his reputation and

public image was not a high priority.           Why would any counsel permit

a client in his 40s to gamble his entire lifetime against a few

months confinement when the cards were obviously stacked against

him by his friend, confidant and alleged partner testifying against

him as to every element of the offense and if he took the stand his

recent prior conviction          for the same offense was certain to be

proved.     Did he not know that sufficiency of the evidence does not

require corroboration of accomplice testimony in a Federal Court?

Apart from some self-interest motivation, creating a conflict, what

possible theory can be resorted to in an effort to justify such
failure by counsel.         Significant note should be taken of the fact

that a large part of counsel's fee,                  amounting to thousands of

dollars,    had   not    yet   been   paid,    and    if   such   quick    and    easy

resolution of      the    case   by   acceptance      of   said plea      offer    had

occurred, it would be highly unlikely that the balance of said fee

would ever have been paid.              This possible        explanation     of    the

otherwise unexplainable has been held in U.S. v. McClain, 823 F.2d

1457,    1464(11) to deprive a Defendant of a fair trial.                   In said

case the court stated:

        "There is substantial evidence that the United States
        attorney would not attempt to indict Johnson until Sher's
        trial ended.
             Therefore, it was in Johnson's best interests for

                                         4
         Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 5 of 21
                   I
      Sher to have a lengthy trial. . .
           This actual conflict of interest adversely affected
      the competency of Johnson's representation of Sher.
      Johnson's competence was most lacking in the area of plea
      negotiations ......
      Exploring possible plea negotiations is an important part
      of providing adequate representation of a criminal
      client, and this part is easily precluded by a conflict
      of interest."

      Furthermore, failure to inform a Defendant of a possible life

sentence or a possibility of enhancement of his               sentence as   a

career offender has been held to constitute ineffective counsel.

Alvernaz v. Ratelle, 831 Fed. Supp. 790, U. S. v. Day, 969 F.2d 39,

43.   In Alvernaz and DaY the Courts' stated:

           "There is no doubt the error alleged constitutes a
      violation under the first Strickland prong.      As the
      California Supreme Court noted,
           We conclude, as have all federal and state courts
           presented with this issue, that            .  where
                                                          .   .

           counsel's ineffective representation results in a
           defendant's rejection of an offered plea bargain,
           and in the defendant's decision to proceed to trial
                 (a claim of ineffective assistance of counsel
           is raised.]
      Alvernaz v. Ratelle, 831 Fed. Supp. 790.

           "Knowledge of the comparative sentence exposure
      between standing trial and accepting a plea offer will
      often be crucial to the decision whether to plead
      guilty."
      U. S. v. Day, 969 F.2d 39.

Not only will the evidence show a failure of defense counsel to

properly advise the Defendant to immediately accept the plea offer,

but counsel mentally coerced the Defendant against acceptance of

said offer by having told him that he would not represent a client

who snitched or cooperated with the Government.           Similar coercion
on a matter not nearly as critical as acceptance of said plea offer

was held in Nicholas v. Butler,          953 F.2d 1550(11)    to constitute


                                     5
                                                            S
         Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 6 of 21
                          I
ineffective counsel.             In said case, the Court held that the act of

defense counsel in telling the Defendant that if he testified he

would cease to represent him was violative of the defendant's right
to be heard in his own defense and, in and of itself, constituted

ineffective counsel.
                                             B.




      Defense counsel failed to move for a mistrial or even oblect

to   proof      by    the     Government     that   defendant    was   guilty   of

"loansharking" prior to his arrest on May 25, 1985 and that such

"loansharking" was a felony offense.                This was highly prejudicial

proof of a crime and acts condemned even by the Bible in Exodus

22(25), Ezekiel 22(12) and Deuteronomy 23(19).                   Permitting proof

that the Petitioner committed wholly unrelated crimes condemned by

law and by the Bible could hardly be defense strategy.

      In U.     S.   v.   Rusinistle,   716 F.2d 301(5)     the Court held that

failure to object to proof of personal drug use and association

with a group using drugs was ineffective counsel that rendered the

Defendant's trial fundamentally unfair and subject to collateral

attack therefor.          On the issue of prejudice, the Court stated that

the evidence was a swearing match and, thus, certainly less than

overwhelming.        In Lyon v. McCotter, 770 F.2d 529(5), the Court held

that counsel's failure to object to a prior conviction, in and of

itself, constituted ineffective counsel.                 In Atkins v. Attv. Gen.

v.   Alabama,    932      F.2d    1430(11)   the Court   holds   that failure   to

object to a finger print card that bore a notation thereon of a

prior arrest, in and if itself, constituted ineffective counsel.
                                                              S
           Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 7 of 21
                      I
In Chatom v. White, 858 F.2d 1479(11) the Court held that defense

counsel's failure to object to a scientific test, which had not

been discovered in accord with a pretrial order, in and of itself,

constituted ineffective counsel.               In Bolander v. State of Iowa, 978

F.2d 1079(8)      the court holds       that defense counsel's failure to

object to a prior statement of the Defendant's wife that he had

said    he would    fix   her husband,         in   and of    itself,    constituted

ineffective counsel.         As to the question of prejudice the court in

Bolander stated:
        "The circumstantial evidence is legally sufficient to
        support a finding of premeditation but the evidence also
        permits a reasonable doubt."

In Mason v. Scully,         16 F.3d 38(2) the court held that failure of

defense counsel to object to a detective testifying to what had

been    said by a non-testifying co-defendant,                  in and of itself,

constituted ineffective counsel.
                                          C.




        Without    making    any    objection        thereto,     defense    counsel

permitted the Government to prove that in 1977, approximately 13
years    before    the return      of   the     indictment     herein,    Petitioner

engaged in the business of selling quaaludes and methamphetamine.

This could hardly be considered as trial                     strategy    designed to

somehow endear the Defendant to the jury.

        The only purpose and effect of this proof was to show the jury

that the Defendant, 13 years before, had committed serious crimes

for which he had never been punished.                   This is 100       times more

prejudicial than any of the matters held in the above cases to

                                          '4
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 8 of 21
                       I
constitute ineffective counsel.

                                            D.




     Undisputed        evidence    showed        Defendant         to   have    engaged      in

separate drug conspiracies in 1983, 1984 and 1985 which were barred

by the statute of limitations, but trial counsel failed to object

to the failure of the Court's charge to limit the right to convict

to a conspiracy entered into within the period not barred by the

statute of limitations.            The Defendant admitted on the stand to

numerous drug transactions involving himself and others in 1983,

1984 and 1985.       An ordinary jury would have been compelled to find

the Defendant guilty without such a limiting instruction.                                   Such

failure     to    request   or    object    to     the    omission of           a    limiting

instruction has been held, in and of itself, ineffective counsel.

Lyons v. McCotter, 770 F.2d 529, Ramirez v. State, 873 S.W.2d 757.

                                            E.




     The Superseding Indictment simply alleged that appellant and

other persons to the grand jury known and unknown conspired to

possess   a      quantity of cocaine.             (R.    1,   P.    43-44)          Thus,   the

prosecutor was given a blank check to prove up any agreement by
Defendant with any person to commit the alleged offense on any

occasion.        Competent counsel would have had to have known that the

court's     charge    would      follow    the     indictment           and    likely       also

constitute a blank check to the jury to convict regardless if it

was the same transaction upon which the grand jury returned the

Indictment.        Notwithstanding these certain baleful consequences,
Defendant's counsel failed to move for a bill of particulars as to


                                           8
           Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 9 of 21
                     I
whom was intended to be the conspirators, known to the grand lury.
Why not?     There is no possibility that such could have been trial

strategy.    As is discussed in Krulewitch v. U.S., 69 S.Ct. 716, the

procedures in charging and proving conspiracy offenses certainly

should not be enlarged, but,         if anything,   should be rigidly and

narrowly enforced by reason by reason of the inherent dangers in

the offense itself.       This blank check given by the indictment to

the prosecutor as to proof, and the further blank check which must

inevitably follow such indictment into the court's charge, violates
in all respects the principles pronounced by the Supreme Court in

Russell v. U.S., 82 S.Ct. 1038, wherein the court held as follows:

          "It is argued that any deficiency in the indictment
     is  these cases could have been cured by bills of
     particulars.   But it is a settled rule that a bill of
     particulars cannot save an invalid indictment.
          To allow the prosecutor, or the court, to make a
     subsequent guess as to what was in the minds of the grand
     jury at the time they returned the indictment would
     deprive the defendant of a basic protection which the
     guaranty of the intervention of a grand jury was designed
     to secure.   For a defendant could then be convicted on
     the basis of facts not found by, and perhaps not even
     presented to, the grand jury which indicted him.
          The very purpose of the requirement that a man be
     indicted by grand jury is to limit his jeopardy to
     offenses charged by a group of his fellow citizens acting
     independently of either prosecuting attorney or judge.
          A cryptic form of indictment in cases of this kind
     requires the defendant to go to trial with the chief
     issue undefined.   It enables his conviction to rest on
     one point and the affirmance of the conviction to rest on
     another. It gives the prosecution free hand on appeal to
     fill in the gaps of proof by surmise or conjecture."
     (Emph. ours)

There is no possible way to know from the indictment herein whom

the grand jury intended to charge Defendant with entering into a

conspiracy.      Under the Court's charge,       there is no way to tell

                                       9
         Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 10 of 21
                      I
which of the numerous drug transactions, which might have been

deemed a conspiracy by the jury, was actually found to have been

proved   beyond   a   reasonable   doubt.     The   jury   could   reasonably

conclude that evidence would not be admitted into evidence against

Defendant unless it could be considered as proving the allegation
in the indictment.

     We have found no decisions where an indictment alleged that

conspirators are known to the grand jury, yet their names were not

alleged either in the body of the alleged offense or in the overt

acts, and demand was made for said names by motion to dismiss or

for a bill of particulars.      However, the following quotations from

the following decisions, at least, imply that, in such event, such

is necessary:

          "Of course, at least two persons are required to
     constitute a conspiracy but the identity of the other
     members of the conspiracy is not needed."   Roaers v.
     U.s., 71 S.Ct. 438. (Emph. ours)

          "The evidence fails to show any other person, to the
     grand jury unknown, who could take Freilburger's place
     and supply the necessary second party to the conspiracy.

          The only other person who could possibly have been
     a party  to the conspiracy was one Meyers.      He was,
     however, to the grand jury known.
     Worthington v. U.S., 64 F.2d 939.
On direct appeal, the Court states that this failure of counsel was

not prejudicial since the Government would simply have complied

with such motion and made the indictment more specific.             U.    S. v.

Royal,   972 F.2d 643, 650, and cites Morlett v.           Lynaugh, 851 F.2d

1521 in support of such conclusion.         In Morlett, the defect in the

indictment was merely      failing to allege the specific method of

                                     10
                                                         S
       Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 11 of 21
                      I
coercion, the prosecution's proof only showed one, and such defect

did not infect the Court's charge.            Here, as shown above, there was

evidence    of    many conspiracies other than that             intended      to   be

alleged by the grand jury and said defect resulted in the court's

charge requiring a finding of guilty of any drug conspiracy the

Defendant was ever involved in, even the undisputed ones which were

barred by limitations.

             CONCLUSION AS TO INEFFECTIVENESS AND REMEDY

     Each of counsel's deficiencies set out in A, B, C, D and E

above, standing alone, clearly constitute ineffective counsel, and

considered       cumulatively,    they    make    a   mockery    of     the   Sixth

Amendment's guarantee of effective counsel.             The leading decisions

as to the    remedy theref or hold that the judgment of conviction

should be vacated and the plea offer reinstated to permit the

Defendant    to receive the benefit he would have received had the

promise of the Sixth 2mendment been fulfilled.             U.   S. v.    Blaylock,

20 F.3d 1458, 1468-1469.         Alvernaz v. Ratelle, 831 Fed. Supp. 790,

799, Turner v.      State of Tennessee, 940 F.2d 1000, 1002.

                                  GROUND TWO

ADMISSION, OVER OBJECTION, OF TESTIMONY THAT PETITIONER COMMITTED
   A MURDER IN VIOLATION OF PETITIONER'S CONSTITUTIONAL RIGHTS
              TO A GRAND JURY CHARGE AND DUE PROCESS

     The opinion of the Court of Appeals herein, in admitting that

in overruling a motion in limine and admitting in evidence proof

that at a time prior to the alleged conspiracy Defendant sold some

known bad dope to Geno Hernandez and that such resulted in his

death was error, stated the following:

                                         11
         Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 12 of 21
                    I
       "We are sympathetic to Royal's argument that the evidence
       of Hernandez's death was improperly admitted. .    . this
                                                               .

       evidence was completely unnecessary to the government's
       case and we discern no purpose other than prosecutorial
       overkill in the government's insistence that it be
       admitted." (Emph. ours)

The opinion thereafter holds that this flagrantly inflammatory, and

prejudicial   evidence did not harm Defendant because               there was

overwhelming proof of his guilt of the alleged conspiracy.
       Thus, a new unheard of question is squarely presented to this

Court -- can accomplice testimony alone, under a plea bargain that

the accomplice will not be prosecuted for any offense, when the

defendant has taken the stand and directly contradicted all of said

accomplice testimony,      constitute     such overwhelming evidence       of

guilt as    to render   immaterial admission of admittedly improper

evidence that a man dies as the result of the defendant selling him

known bad dope?     The answer to this question is apparent from the

statement in U. S. v. Hinds, 772 F.2d 362, to wit:

       "The   policy behind the giving of an accomplice
       instruction is 'no more than a common sense recognition
       that an accomplice may have a special interest in
       testifying, thus casting. doubt upon his veracity." Cool
       v. United States, 409 U.S. 100, 103, 93 S.Ct. 354, 357,
       34 L.Ed.2d 335 (1972). The accomplice is thought to have
       a 'motive to lie' since he is in a position to extricate
       himself by incriminating his partner in crime. Moreover,
       the possibility of leniency in plea agreements and
       sentencing renders an accomplice's testimony one to be
                                                      (Emph.

The sole question of this defendant's guilt was whether he made an

oral   agreement with Le     Beouf   that   while defendant        was in the

penitentiary Le Beouf would carry on a drug operation from which

Defendant would be entitled to commissions.         Defendant vigorously

denied any such agreement and all of the incriminating allegations
                                     12
                                                            S
           Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 13 of 21
                      I
 relating thereto.     Le Beouf admitted that he never made any payment

 to   Defendant      for   any   drugs      he     sold     during   Defendant's

 incarceration, that the government agreed to forgo any prosecution

 of him whatsoever in exchange for his testimony against Defendant,

 that on his first debriefing by the government he admitted many

 many large cocaine transactions with numerous people,                   but never

 claimed Defendant agreed to be in on any drug operation to be

 conducted after Defendant went to the penitentiary, that he lied

 during his first debriefing seeking immunity in several respects

 and that he incriminated Defendant only on his last debriefing,

 after he discovered Defendant had sex with his wife.

         If proof of any irrelevant extraneous crime that is certain to

create inflamed passion against a defendant can be excused on a

theory of 'an overwhelming preponderance of evidence of guilt',

when the only evidence is plea bargained accomplice testimony,
 then,    the due   process   right to a         fundamentally   fair trial     is

 extinct in our country.

                                 GROUND THREE
   ADMISSION, OVER OBJECTION. OF ILLEGALLY OBTAINED EVIDENCE IN
VIOLATION OF THE FOURTH AMENDMENT TO THE UNITED STATES CONSTITUTION

         The Trial Court's overruling of Defendant's motion to suppress

 the items listed under the search warrant herein was prejudicial

 error for the reason that the plastic bags and scales found in the

 house and admitted in evidence          against Defendant were patently

 harmful to him, and the affidavit for said search warrant failed to

 show any probable cause to support any reasonable belief that said

 items were likely to be in said house.                   Said plastic   bags and

                                       13
                                                             S
            Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 14 of 21
                        I
scales were         described    in   the   affidavit     and search warrant       as

follows:       "Material used in the packaging, cutting, weighing and

distributing illegal controlled substances."
      In U. s. v. Freeman, 865 F.2d 951(5) the Court of Appeals held

that an affidavit for a search warrant to search a residence for
items such as drug paraphernalia is stale where no drug activity

was shown to have been ongoing at any time during the preceding six

months.       The    affidavit    for   the      search   warrant   of   Defendant's

residence affirmatively           showed the last known drug activity by
Defendant to have been one year and nine months before presentation

of the      said affidavit to the magistrate.               The Court of Appeals

opinion avoided consideration of said Fourth Amendment violation by

use of the Good Faith Exception.              The undisputed evidence was that

the affidavit was presented after the defendant was indicted on

this case and awaiting trial and that the affidavit was a product

of and reviewed by the Assistant United States Attorney Steven L.

Snyder, who was then preparing the case for trial.                   The questions

here are     (1)   Whether a prosecutor, after indictment, can claim the
Good Faith Exception when, pending a trial on said indictment, he

obtains a search warrant to procure evidence in his upcoming trial,

and   (2)     Whether    an   affidavit      for   a   search   warrant    for   drug
paraphernalia that reveals on its face no drug activity by the

defendant or in the residence in question for one year and nine

months prior can be upheld on the Good Faith Exception?                   Said U. S.
v. Freeman,        supra, holds that even though a search warrant for IRS

material and drug paraphernalia may not be stale as to the IRS


                                            14
                                                                    S
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 15 of 21
                         I
material,    it     is        severable    and will      be     stale    as     to   the    drug

paraphernalia if it is specifically referred to in the affidavit

for the warrant and the affidavit fails to show any drug activity

in the residence in excess of six months.                     The Freeman case further

holds     that     the    "plain     view       doctrine"       cannot    save       the    drug

paraphernalia from exclusion, because having specifically referred

to it in the warrant, it must be presumed that a specific search

was conducted therefor.

                                          GROUND FOUR

      THE SENTENCE OF THE PETITIONER TO 30 YEARS CONFINEMENT
   UNDER THE GUIDELINES, ALTHOUGH THE STATUTORY MAXIMUM UNDER
   THE ALLEGATIONS OF THE INDICTMENT WAS 20 YEARS RENDERS THE
   SENTENCE VOID TO THE EXTENT IT EXCEEDS 20 YEARS CONFINEMENT

        Defendant was sentenced to 30 years under the Guidelines,

although     the    statutory        maximum         under    the   allegations        of    the

indictment herein was 20 years.

        In Mistretta v.          U.S.,    109   S.Ct.    647,    657,    664,    the Supreme

Court stated as follows:

             "Congress instructed the commission that these
        sentencing ranges must be consistent with the pertinent
        provisions of Title 18 of the United States Code and
        could not include sentences in excess of the statutory
        maxima. . . . . Given the consistent responsibility of
        federal judges to pronounce sentence within the statutory
        range established by Congress, we find that the role of
        the Commission in promulgating guidelines for the
        exercise of the judicial function bears considerable
        similarity to the role of this court in establishing
        rules of procedure under the various enabling acts."
        (Emph. ours)

In other words the quantity of drugs used to fix punishment under

the Guidelines           is    not limited       by the quantity          alleged in the

indictment, but the sentence fixed by the Guidelines cannot exceed


                                                15
                                                          S
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 16 of 21
                     .
the statutory maximum Congress fixed for the acts alleged in the

indictment.      Meyers v. U.s., 116 F.2d 601(5), Packnett v. U.s., 503
F.2d 949(5),      and Theriault v.      U.S.,      434 F.2d 212(5),     held that

failure     to   allege    in   the    indictment      facts   constituting      an

aggravation of an alleged offense that will increase the statutory

punishment range, precludes the enhancement of the statutory range
of punishment of the alleged offense.              The Court of Appeals opinion

here, in holding otherwise, decides the question solely on whether

quantity is an element of the offense proscribed by 21 U.S.C.                     §

841(1), possession with the intent to distribute some quantity of

cocaine.     That is not the question here.              Defendant agrees that

quantity is not an element of the alleged offense under § 841(a).

The question here is not whether quantity is an element of the

offense under 21 U.S.C.         §    841(a); the question is         "what is the

statutory maximum         sentence    fixed   by    Congress   for   violating    §

841(a)?"     Defendant's position is simply that application of the

sentencing Guidelines cannot extend a sentence beyond the maximum,,

possible penalty provided by Congress for the acts Defendant is

alleged in the indictment to have committed.               The decisions in Q

S. v. Alarez,     735 F.2d 461(110, U.S. v Crockett, 312 F.2d 622(10),

and U.S. v. Moore, 540 F.2d 1088(DC), hold precisely this and are

directly in conflict with the decision in this case.                 In this case

Defendant was assessed a sentence that was ten years beyond the

statutory maximum.

     Rule     11(c)(1)    mandatorily requires a          Trial   Judge,   before

accepting a plea of guilty or nob             contendere, to determine that


                                         16




                                                                                      3O2I
                                                      S
       Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 17 of 21
                   I
the defendant understands the "maximum possible          enaltv provided by
       In addition thereto, it requires advising the defendant that

the court will be required to consider any "applicable guidelines."

Thus, it is manifest that "maximum penalty provided by law" is not

considered a part of the guidelines.            We respectfully pose the

following question:      if a defendant enters a guilty plea to an

indictment    merely   alleging    conspiracy    to   distribute   cocaine,

without any allegation as to amount, what would this Honorable

court advise     a defendant to    be the maximum possible sentence?

Obviously, the advice would be and the advice that has been given

in every past guilty plea to such allegation is that the maximum

possible penalty is twenty (20) years.           We submit that no Trial

Judge in the hundreds of guilty pleas entered to this offense has

ever advised the defendant that the maximum possible penalty for

conspiracy to distribute some cocaine only was life imprisonment.

A failure to accurately advise a defendant prior to accepting his
guilty plea of the maximum statutory penalty for the acts he is

charged by the indictment to have committed renders any such plea
invalid.     Canal zone v. Tobar, 565 F.2d 1321.         U.S. v. Jaramillo-

Suarez, 857 F.2d 1368(9).    Thus, if the opinion on direct appeal is

correct,    then virtually   all   pleas   of   guilty   to an   indictment
alleging distribution of or a conspiracy to distribute cocaine,
without alleging any amount, were invalid pleas.          We pose one other
question.    If Rule 11(c) (1) does not refer to the maximum statutory

penalty for the acts the indictment alleges a defendant committed,

then, how is it possible for a trial judge to advise a defendant on


                                     17
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 18 of 21
                       I
a guilty plea as to the maximum penalty provided by                                     when, at

that time, there has not yet been any determination or evidence as

to the amount of dope a defendant might be chargeable with under

the guidelines.         As clearly shown in Mistretta v.                            U.S.,   supra,

sentencing ranges fixed by the sentencing Guidelines cannot exceed

the   statutory       maximum     fixed          by    Congress         for    a     defendant's

commission of the acts alleged in the Grand Jury Indictment.

      In the only two cases cited in the body of the opinion on

direct appeal, U.S. v. Lokey,                945 F.2d 825,             856(5),       and U.S. V.

Morgan,     835    F.2d 79,     81(5)      the indictments              alleged the         amount

exceeded     100    kilograms,       but    the        sentence    did        not    exceed       the

statutory maximum for a 21 U.S.C. § 841(a) offense.                                   Obviously,

since quantity is not an element of § 84 1(a) the failure to prove

the   allegation      that     the    quantity          exceeded        100    kilograms          was

immaterial as long as the sentence did not exceed the statutory

maximum of § 841(a).           Said opinion in its footnote cites U. S. V.

McHugh,     769    F.2d 860,    868(1),         U.S.    v.   Campuzano,        905 F.2d 677,

679(2) and U. S. v. Gibbs,              813 F.2d 596,         599-601(3).             In McHugh,

supra,    the court      held    "proving the            amount        of marijuana          is    an

essential element of the offense only under 21 U.S.C. S 841(b) (6)."

In Cainpuzano, supra, the indictment actually alleged the quantity

to be in excess of         5    kilograms and the sentence was within the
maximum     statutory    range       for    §     841(a).         In    Gibbs,       supra,       the

majority held that the indictment alleged the excessive quantity
sufficiently to raise the statutory maximum to that of § 941(b) (6),

but   the   dissent     held    that       the       allegation        of   quantity        in    the


                                                18
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 19 of 21
                    I
indictment was not clear enough.             The sentence herein is void in

excess of the statutory maximum 20 years.

                                 GROUND FIVE

PETITIONER WAS SENTENCED UPON A MISCONCEPTION BY THE TRIAL COURT
                   AS TO THE MAXIMUM SENTENCE

        This Honorable Court in sentencing the Defendant herein, acted

under    the mistaken belief        that     the maximum   sentence was          life

imprisonment (see judgment page        5   and PSR page 14).    At the time of

sentencing Defendant he was 37 years of age with a life expectancy

of   approximately    31   years.      Thus,    the   number   of    years      which

Defendant was sentenced was a little less than his actual life
expectancy.    The PSR and this Honorable Court mistakenly considered

the maximum to be life         imprisonment      by reason of       a motion       to

enhance sentence filed by the United States Attorney for the first

time after Petitioner's conviction.             Said enhancement is void for

lack of due process in that notice to Defendant of such intended

enhancement was not given until after his conviction.                    Obviously,

if   proper notice of      said enhancement       had been     given      the    plea

bargain offer would have been instantly accepted by Petitioner.
Also, if the Trial Court had known the true maximum, his sentence

would likely have been lesser.
        The PSR herein shows that notice that the Government would
seek enhancement of Defendant's sentence to a enhancement of life

imprisonment was first given to the Defendant on May                7,   1991 after

his trial and conviction.           Based thereon, the PSR upon which the

trial court relied and acted upon set the maximum sentence at life

imprisonment.      A Defendant's rights of due process and to not be
                                        19




                                                                                        30$
          Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 20 of 21
                       0
held to answer for or be punished for an infamous crime unless

charged    by   a    ground    jury,   under         the   Fifth    Amendment         to   the

Constitution of the United States, and to know the nature and cause

of the accusation against him,               under the Sixth Amendment to the

Constitution        of 'the   United States,          serve   to    prohibit any           new

enhancement     allegations       against        a    Defendant         after    trial     and

conviction. Such are constitutional limitations of the jurisdiction

of a court to impose any sentence based on enhancement allegations,

first presented after trial simply by a United States Attorney's

allegations, and if a sentencing court exercises its discretionary
sentencing power         based   on    a    misconception          as    to     the   maximum

sentence by reason thereof, such sentence is and should be vacated

and resentencing had.
     The attempted imprisonment for Defendant's prior conviction is

not only    barred by the above constitutional                      provisions but is

expressly barred by the statute.                 Kelly v. U.S., 29 F.2d 1107(7).

     WHEREFORE, Petitioner prays that the conviction and sentence

herein be vacated and the Government ordered to reinstate its prior

plea offer of 15 months confinement under the indictment herein.
                                           Respectfully submitted:

                                           W. V. DUNNAN, JR.
                                           Post Office Box 8418
                                           4125 West Waco Drive
                                           Waco, Texas 76714-8418
                                           Telephone (817) 753-6437
                                           Facsimile (817) 753-7434



                                           State Bar         20
                                           ATTORNEY FOR JON HAROLD                Y


                                            20
       Case 6:90-cr-00104-RP Document 97 Filed 06/13/96 Page 21 of 21
                 I
                       CERTIFICATE OF SERVICE

     The undersigned certifies that a true and correct copy of the
above instrument was served upon                 of record
parties to,h.eabove cause                                this
 day of ______________,



                                 W    V. DUNNAN, JR.




                                     21
